     Case
     Case3:23-cv-02397-S
          3:23-cv-02397-S Document
                          Document30
                                   52 Filed
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AO 440 (Rev. 12/09) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                                    for the
                                           Northern District of Texas

     FedEx Supply Chain Logistics &                    )
                                                       )
            Electronics Inc
                     Plaintiff                         )
                                                       )
                       v.                              )
                                                            Civil Action No. 3:23-cv-02397-S
                                                       )
               Goodman et al                           )
                     Defendant


                                      Summons in a Civil Action

TO: Prosperity Bancshares Inc

doing business as Prosperity Bank


A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff’s attorney, whose name and address are:

     S. Carter
     6075 Poplar Avenue
     Suite 500
     Memphis , TN 38119

    If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




                                                               CLERK OF COURT



DATE: 10/30/2023
                                                                Signature of Clerk or Deputy Clerk
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Civil Action No.                                                            3:23-CV-02397-S

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for Prosperity Bancshares, Inc. d/b/a Prosperity Bank
 was recieved by me on 11/10/2023:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Charlotte M. Rasche,, who is designated by law to accept service of process on behalf of
          X
                                    Prosperity Bancshares, Inc. d/b/a Prosperity Bank at 80 Sugar Creek Center Boulevard, Sugar Land, TX 77478 on
                                    11/10/2023 at 3:57 PM; or

                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 105.00 for services, for a total of $ 105.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   11/10/2023
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                       Server's signature



                                                                                                                                                       Atinuke Ilori
                                                                                                                                                      Printed name and title



                                                                                                            8633 BEECHCREST ST
                                                                                                            Houston, TX 77083


                                                                                                                                                        Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Charlotte M. Rasche,, REGISTERED AGENT with identity confirmed by subject saying
           yes when named. The individual accepted service with direct delivery. The individual appeared to be a black-haired
           black female contact 35-45 years of age, 5'4"-5'6" tall and weighing 160-180 lbs with an accent.




                                                                                                                                                                    Tracking #: 0117923555
